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 9   UNITED STATES OF AMERICA

10                          UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,               No. CR 20-190-RGK

13             Plaintiff,                    [PROPOSED] ORDER CONTINUING
                                             SENTENCING
14                   v.

15   EDGAR SARGSYAN,

16             Defendant.

17

18        The Court has read and considered the Stipulation to Continue
19   Sentencing Date for defendant Edgar Sargsyan filed by the parties in
20   this matter on February 28, 2023.
21   //
22   //
23   //
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     Case 2:20-cr-00190-RGK Document 61 Filed 03/03/23 Page 2 of 2 Page ID #:370



 1          THEREFORE, FOR GOOD CAUSE SHOWN:

 2          The sentencing date in this matter is continued from March 27,

 3   2023, to August 28, 2023, at 1:30 p.m.

 4          IT IS SO ORDERED.

 5

 6   3/3/2023

 7   DATE                                   HONORABLE R. GARY KLAUSNER
                                            UNITED STATES DISTRICT JUDGE
 8
     Presented by:
 9
          /s/ Jeff Mitchell
10   JEFF MITCHELL
     Assistant United States Attorney
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